Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 1 of 18 PageID #: 5801




                     EXHIBIT 5
 Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 2 of 18 PageID #: 5802
                                                Tuesday, August 1, 2017 at 6:06:41 PM Central Daylight Time

Subject:   Daily Record Received from the Marker Group, Inc. [20150630210622-NWF0010]
Date:      Tuesday, June 30, 2015 at 9:17:37 PM Central Daylight Time
From:      GoMarkersNoPﬁcaPons@Marker-Group.com
To:        Ken Brennan


                                      The Marker Group
 For assistance, please email GoMarkers, or call (877) 934-2748.

 Records Upload NoPﬁcaPon
                           Order-                        Record
  NoGﬁcaGon PaGent                     Custodian                    Begin Bates     End Bates     Categories
                            Part                          Type




                                                                                                      Page 1 of 3
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 3 of 18 PageID #: 5803




                                                                                      Deceased,
                                                                                      McClurg, No
          David    401108- Emerson           No Records DPowell-EEE-   DPowell-EEE-   Employment
          Powell   16-1    Electric(A^n: LAW Le^er      000001         000001         Auth.,
                                                                                      Targeted
                                                                                      CollecPon
                           H. Lee Moﬃ^                                                Deceased,
                           Cancer Center &                                            McClurg, No
                                                        DPowell-       DPowell-
          David    401108- Research          Incomplete                               Employment
                                                        HLMCCRI-       HLMCCRI-
          Powell   22-4    InsPtute((Medical CerPﬁcaPon                               Auth.,
                                                        002354         002354
                           Records                                                    Targeted
                           Department)                                                CollecPon




                                                                                          Page 2 of 3
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 4 of 18 PageID #: 5804




M
       The Marker Group, Inc.
       13105 Northwest Freeway, Suite 300 | Houston, TX 77040
       800.264.9070 main | 713.934.2748 fax
MARKER GoMarkers@Marker-Group.com
GROUP www.Marker-Group.com | CerGﬁed Women's Business Enterprise
The information contained in this electronic mail transmission and any attachment(s) is HIGHLY CONFIDENTIAL and/or
privileged and is intended solely for the use of the intended recipient(s). If the reader of this message is not an intended
recipient of the transmission, or an agent or employee designated to deliver the transmission to an intended recipient, you are
hereby notified that any unauthorized review, use, disclosure, dissemination, distribution, or copying of this communication, or
any of its contents, is strictly prohibited. If you have received this electronic mail transmission in error, please immediately
delete and destroy all copies of this transmission and any attachments, and notify the sender by reply e-mail or by calling 713-
460-9070.




                                                                                                                             Page 3 of 3
 Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 5 of 18 PageID #: 5805
                                                Tuesday, August 1, 2017 at 6:06:19 PM Central Daylight Time

Subject:   Daily Record Received from the Marker Group, Inc. [20150925200005-NWF002]
Date:      Friday, September 25, 2015 at 8:04:42 PM Central Daylight Time
From:      GoMarkersNoPﬁcaPons@Marker-Group.com
To:        Ken Brennan


                                        The Marker Group
 For assistance, please email GoMarkers, or call (877) 934-2748.

 Records Upload NoPﬁcaPon
                               Order-
  NoGﬁcaGon         PaGent                   Custodian         Record Type    Begin Bates       End Bates
                                Part




                                                                                                      Page 1 of 5
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 6 of 18 PageID #: 5806




                                                                                Page 2 of 5
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 7 of 18 PageID #: 5807




                         401108- Cancer InsPtute of             DPowell-CanI-   DPowell-CanI-
          David Powell                                Medical
                         44-1    Florida                        000001          000124



                                                                                        Page 3 of 5
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 8 of 18 PageID #: 5808




                               IBM                              DPowell-      DPowell-
                       401108-
          David Powell         CorporaPon((Human   Employment   IBMCorp-HR-   IBMCorp-HR-
                       4-1
                               Resources)                       000001        000362




                                                                                     Page 4 of 5
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 9 of 18 PageID #: 5809




M
       The Marker Group, Inc.
       13105 Northwest Freeway, Suite 300 | Houston, TX 77040
       800.264.9070 main | 713.934.2748 fax
MARKER GoMarkers@Marker-Group.com
GROUP www.Marker-Group.com | CerGﬁed Women's Business Enterprise
The information contained in this electronic mail transmission and any attachment(s) is HIGHLY CONFIDENTIAL and/or
privileged and is intended solely for the use of the intended recipient(s). If the reader of this message is not an intended
recipient of the transmission, or an agent or employee designated to deliver the transmission to an intended recipient, you are
hereby notified that any unauthorized review, use, disclosure, dissemination, distribution, or copying of this communication, or
any of its contents, is strictly prohibited. If you have received this electronic mail transmission in error, please immediately
delete and destroy all copies of this transmission and any attachments, and notify the sender by reply e-mail or by calling 713-
460-9070.




                                                                                                                             Page 5 of 5
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 10 of 18 PageID #: 5810
                                                Tuesday, August 1, 2017 at 6:08:34 PM Central Daylight Time

Subject:   Daily Record Received from the Marker Group, Inc. [20151104213146-NWF002]
Date:      Wednesday, November 4, 2015 at 10:35:47 PM Central Standard Time
From:      GoMarkersNoPﬁcaPons@Marker-Group.com
To:        Amy Frisch


                                      The Marker Group
 For assistance, please email GoMarkers, or call (877) 934-2748.

 Records Upload NoPﬁcaPon
                             Order-
  NoHﬁcaHon       PaHent                   Custodian        Record Type   Begin Bates       End Bates
                              Part

                                                                                                               g,
                                                                                                               lurg

                                                                                                               g,
                                                                                                               lurg

                                                                                                               g,
                                                                                                               lurg

                                                                                                               g,
                                                                                                               lurg, No
                                                                                                               Ponal
                                                                                                              m, No
                                                                                                               loymen
                                                                                                              h.
                                                                                                               g,
                                                                                                               lurg, No
                                                                                                               Ponal
                                                                                                              m, No
                                                                                                               loymen
                                                                                                              h.

                                                                                                               g,
                                                                                                               lurg

                                                                                                               g,
                                                                                                               lurg

                                                                                                              eased,
                                                                                                               lurg

                                                                                                              eased,
                                                                                                               lurg




                                                                                                      Page 1 of 6
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 11 of 18 PageID #: 5811


                                                                                        eased,
                                                                                         lurg, No
                                                                                         loymen
                                                                                        h.

                                                                                         g,
                                                                                         lurg


                                                                                         g,
                                                                                         lurg



                                                                                         g,
                                                                                         lurg

                                                                                         Ponal
                                                                                        m,
                                                                                         loymen
                                                                                        h, Living
                                                                                         lurg
                                                                                        eased,
                                                                                         lurg, No
                                                                                         Ponal
                                                                                        m, No
                                                                                         loymen
                                                                                        h.
                                                                                         g,
                                                                                         lurg, No
                                                                                         Ponal
                                                                                        m, No
                                                                                         loymen
                                                                                        h.
                                                                                         g,
                                                                                         lurg, No
                                                                                         Ponal
                                                                                        m, No
                                                                                         loymen
                                                                                        h.

                                                                                         g,
                                                                                         lurg

                                                                                         g,
                                                                                         lurg


                                                                                         g,
                                                                                         lurg


                                                                                Page 2 of 6
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 12 of 18 PageID #: 5812




                                                                                        ng,
                                                                                        Clurg


                                                                                        ng,
                                                                                        Clurg

                                                                                        ng,
                                                                                        Clurg

                                                                                        eased,
                                                                                        Clurg, No
                                                                                        oPonal
                                                                                        m, No
                                                                                        ploymen
                                                                                        h.
                                                                                        eased,
                                                                                        Clurg, No
                                                                                        oPonal
                                                                                        m, No
                                                                                        ploymen
                                                                                        h.

                                                                                        ng,
                                                                                        Clurg, No
                                                                                        ploymen
                                                                                        h.

                                                                                        ng,
                                                                                        Clurg, No
                                                                                        ploymen
                                                                                        h.
                                                                                        ploymen
                                                                                        h, Living
                                                                                        Clurg

                                                                                        ploymen
                                                                                        h, Living
                                                                                        Clurg


                                                                                        Clurg


                                                                                        ng,
                                                                                        Clurg




                                                                                Page 3 of 6
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 13 of 18 PageID #: 5813


                                                                                        ng,
                                                                                         lurg

                                                                                        ng,
                                                                                         lurg, No
                                                                                        ploymen
                                                                                        h.
                                                                                        ng,
                                                                                         lurg, No
                                                                                        oPonal
                                                                                        m, No
                                                                                        ploymen
                                                                                        h.
                                                                                        ng,
                                                                                         lurg, No
                                                                                        oPonal
                                                                                        m, No
                                                                                        ploymen
                                                                                        h.

                                                                                        ng,
                                                                                         lurg

                                                                                        ng,
                                                                                         lurg, No
                                                                                        oPonal
                                                                                        m, No
                                                                                        ploymen
                                                                                        h.
                                                                                        ng,
                                                                                         lurg, No
                                                                                        oPonal
                                                                                        m, No
                                                                                        ploymen
                                                                                        h.
                                                                                        ng,
                                                                                         lurg, No
                                                                                        oPonal
                                                                                        m, No
                                                                                        ploymen
                                                                                        h.
                                                                                        eased,
                                                                                        oPonal
                                                                                        m,
                                                                                         lurg, No
                                                                                        ploymen
                                                                                        h.




                                                                                Page 4 of 6
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 14 of 18 PageID #: 5814


                             Wake Medical Center-                                      Deceased,
                                                             DPowell-     DPowell-
           David     401108- Raleigh                                                   McClurg, No
                                                  CerPﬁcaPon WakeMC-RC-   WakeMC-RC-
           Powell    52-1    Campus((Radiology                                         Employmen
                                                             RD-000001    RD-000001
                             Department)                                               Auth.
                                                                                           eased,
                                                                                           Clurg, No
                                                                                           ploymen
                                                                                           h.
                                                                                           ng,
                                                                                           Clurg, No
                                                                                           oPonal
                                                                                           m, No
                                                                                           ploymen
                                                                                           h.
                                                                                           eased,
                                                                                           Clurg, No
                                                                                           oPonal
                                                                                           m, No
                                                                                           ploymen
                                                                                           h.
                                                                                           eased,
                                                                                           Clurg, No
                                                                                           oPonal
                                                                                           m, No
                                                                                           ploymen
                                                                                           h.
                                                                                           eased,
                                                                                           Clurg, No
                                                                                           oPonal
                                                                                           m, No
                                                                                           ploymen
                                                                                           h.
                                                                                           eased,
                                                                                           Clurg, No
                                                                                           ploymen
                                                                                           h.
                                                                                           oPonal
                                                                                           m,
                                                                                           ng,
                                                                                           Clurg, No
                                                                                           ploymen
                                                                                           h.
                                                                                           oPonal
                                                                                           m,
                                                                                           ng,
                                                                                           Clurg, No
                                                                                           ploymen
                                                                                           h.

                                                                                   Page 5 of 6
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 15 of 18 PageID #: 5815


                                                                                                                                     ng,
                                                                                                                                      lurg

                                                                                                                                     eased,
                                                                                                                                      lurg, No
                                                                                                                                     oPonal
                                                                                                                                     m, No
                                                                                                                                     ploymen
                                                                                                                                     h.
                                                                                                                                     ng,
                                                                                                                                      lurg, No
                                                                                                                                     oPonal
                                                                                                                                     m, No
                                                                                                                                     ploymen
                                                                                                                                     h.
                                                                                                                                     ng,
                                                                                                                                      lurg, No
                                                                                                                                     ploymen
                                                                                                                                     h.
                                                                                                                                     ng,
                                                                                                                                      lurg, No
                                                                                                                                     ploymen
                                                                                                                                     h.

                                                                                                                                     eased,
                                                                                                                                      lurg

                                                                                                                                     eased,
                                                                                                                                      lurg, No
                                                                                                                                     oPonal
                                                                                                                                     m, No
                                                                                                                                     ploymen
                                                                                                                                     h.

                                                                                                                                     ng,
                                                                                                                                      lurg




M
       The Marker Group, Inc.
       13105 Northwest Freeway, Suite 300 | Houston, TX 77040
       800.264.9070 main | 713.934.2748 fax
MARKER GoMarkers@Marker-Group.com
GROUP www.Marker-Group.com | CerHﬁed Women's Business Enterprise
The information contained in this electronic mail transmission and any attachment(s) is HIGHLY CONFIDENTIAL and/or
privileged and is intended solely for the use of the intended recipient(s). If the reader of this message is not an intended
recipient of the transmission, or an agent or employee designated to deliver the transmission to an intended recipient, you are
hereby notified that any unauthorized review, use, disclosure, dissemination, distribution, or copying of this communication, or
any of its contents, is strictly prohibited. If you have received this electronic mail transmission in error, please immediately
delete and destroy all copies of this transmission and any attachments, and notify the sender by reply e-mail or by calling 713-



                                                                                                                             Page 6 of 6
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 16 of 18 PageID #: 5816

460-9070.




                                                                                Page 7 of 6
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 17 of 18 PageID #: 5817
                                                          Tuesday, August 1, 2017 at 6:06:00 PM Central Daylight Time

Subject:   Daily Record Received from the Marker Group, Inc. [20160223211226-NWF002]
Date:      Tuesday, February 23, 2016 at 9:13:01 PM Central Standard Time
From:      GoMarkersNoNﬁcaNons@Marker-Group.com
To:        Ken Brennan


                                              The Marker Group
 For assistance, please email GoMarkers, or call (877) 934-2748.

 Records Upload NoNﬁcaNon
                                 Order-
  NoEﬁcaEon         PaEent                       Custodian           Record Type Begin Bates              End Bates         Categories
                                  Part


                                                                                                                                     ,



                                                                                                                                    ent
                                                                                                                                    ng,
                                                                                                                                    No
                                                                                                                                    l




                                        Florida Hospital-  Pathology
                 David          401108-                                DPowell-FHO- DPowell-FHO- Deceased,
                                        Orlando((Pathology Reports And
                 Powell         57-1                                   PD-000001    PD-000028    McClurg
                                        Department)        Inventory




 M
        The Marker Group, Inc.
        13105 Northwest Freeway, Suite 300 | Houston, TX 77040
        800.264.9070 main | 713.934.2748 fax
 MARKER GoMarkers@Marker-Group.com
 GROUP www.Marker-Group.com | CerEﬁed Women's Business Enterprise
 The information contained in this electronic mail transmission and any attachment(s) is HIGHLY CONFIDENTIAL and/or
 privileged and is intended solely for the use of the intended recipient(s). If the reader of this message is not an intended
 recipient of the transmission, or an agent or employee designated to deliver the transmission to an intended recipient, you are


                                                                                                                              Page 1 of 2
Case: 4:12-cv-00361-AGF Doc. #: 619-5 Filed: 08/01/17 Page: 18 of 18 PageID #: 5818

hereby notified that any unauthorized review, use, disclosure, dissemination, distribution, or copying of this communication, or
any of its contents, is strictly prohibited. If you have received this electronic mail transmission in error, please immediately
delete and destroy all copies of this transmission and any attachments, and notify the sender by reply e-mail or by calling 713-
460-9070.




                                                                                                                             Page 2 of 2
